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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA            *
Plaintiff                           *                             CRIM. NO. 17-356-01 (JAG)
                                    *                                       19-604-49 (PAD)
            v.                      *
                                    *
PEDRO PACHECO-RODRIGUEZ             *
Defendant                           *
*************************************
            JOINT INFORMATIVE MOTION IN COMPLIANCE WITH ORDER


 TO THE HONORABLE COURT:

       COMES NOW, the United States of America and co-defendant, Pedro Pacheco-

Rodriguez, through the undersigned counsels and respectfully allege and pray:

       1.      On January 7, 2021, this Honorable Court ordered the parties to inform the status

of the case (DE 111).

       2.      The plea negotiations resulted in an offer by the Government encompassing this

case and criminal matter number 19-604. Defense counsel will recommend the offer’s acceptance

without reservations.

       3.      Defense counsel is in the process of meeting with his client in MDC and should

have an answer in the following weeks. If the offer is accepted, as anticipated, a change of plea

motion will be filed immediately.

       4.      For the reasons mentioned above, the parties respectfully request twenty (20) days

to inform this Honorable Court the final decision made by the defendant and file the change of

plea motion if the offer is accepted.

       WHEREFORE, it is respectfully requested that this Honorable Court takes notice of this
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Joint Informative Motion and grants twenty (20) days to inform the Court.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico this 8th day of March 2021.

                                             W. STEPHEN MULDROW
                                             United States Attorney

                                              s/Enrique Silva-Avilés
                                             Enrique Silva-Avilés,
                                             Assistant United States Attorney
                                             USDC-PR No. 215810
                                             United States Attorney’s Office
                                             Torre Chardón, Room 1201
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                                             /s/ José R. Gaztambide-Añeses
                                             José R. Gaztambide-Añeses, Esq.
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                                             San Juan, Puerto Rico 00927
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                                     CERTIFICATE OF SERVICE:

        We hereby certify that on today’s date, we electronically filed the foregoing with the

Clerk’s of the Court using the CM/ECF system which will automatically send notification of such

filing to the parties of interest.

        In San Juan, Puerto Rico this 3rd day of March 2021.

                                             s/Enrique Silva-Avilés
                                             Enrique Silva-Avilés,
                                             Assistant United States Attorney
                                             USDC-PR No. 215810

                                             /s/ José R. Gaztambide-Añeses
                                             José R. Gaztambide-Añeses, Esq.
                                             U.S.D.C. - P.R. Bar No. 129011
